           Case 1:15-cr-00264-DAD-BAM Document 58 Filed 04/26/17 Page 1 of 3

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   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:15-CR-00264-DAD-BAM

12                                Plaintiff,            PRELIMINARY ORDER OF FORFEITURE

13                         v.

14   JUAN PENALOZA-RAMIREZ,
      aka Juan Penaloza-Herrera,
15
                                  Defendant.
16

17          Based upon the plea agreement entered into between United States of America and defendant

18 Juan Penaloza-Ramirez aka Juan Penaloza-Herrera, it is hereby ORDERED, ADJUDGED AND

19 DECREED as follows:

20          1.     Pursuant to 21 U.S.C. § 853(a), defendant Juan Penaloza-Ramirez aka Juan Penaloza-

21 Herrera’s interest in the following property shall be condemned and forfeited to the United States of

22 America, to be disposed of according to law:

23                 a. Approximately $7,023.00 in U.S. Currency;

24                 b. Savage, model 114 American Classic Stainless, .30-06 caliber rifle, serial number

25                     H869458;

26                 c. Remington Model 341 .22 caliber rifle, serial number 139122;

27                 d. Bishop rifle, serial number 31187;

28                 e. Hawes Western Marshall .44 magnum revolver, serial number 4/4792;


      PRELIMINARY ORDER OF FORFEITURE                   1
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           Case 1:15-cr-00264-DAD-BAM Document 58 Filed 04/26/17 Page 2 of 3

 1                  f. Ruger Blackhawk .30 carbine revolver, serial number 51-33969;

 2                  g. Marlin Model 60 .22 caliber rifle, serial number 93422506;

 3                  h. Winchester Model 94 carbine 30-30 lever action rifle, serial number 4425328;

 4                  i. Springfield Model 87A .22 caliber rifle;

 5                  j. Savage 24V Series D .223/20-gauge combo shotgun rifle, serial number E771243;

 6                  k. Thompson Center Arms .44 Magnum break-action pistol, serial number 304320;

 7                  l. Winchester Model 74 .22 caliber rifle, serial number 41750;

 8                  m. Harrington & Richardson Model 088 .410-gauge break-action shotgun, serial number

 9                       BA487503;

10                  n. Utica Arms 12-gauge double-barreled shotgun , serial number 35075; and,

11                  o. Any and all rounds of ammunition and magazines seized in the underlying

12                       investigation.

13          2.      The above-listed assets constitute property derived from, any proceeds the defendant

14 obtained, directly or indirectly, or was property used, or intended to be used, in any manner or part, to

15 commit, or to facilitate the commission of a violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B).

16          3.      Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized to

17 seize the above-listed property. The aforementioned property shall be seized and held by the United

18 States Marshals Service and Department of Homeland Security, Customs and Border Protection in its

19 secure custody and control.

20          4.      a.      Pursuant to 21 U.S.C. § 853(n), and Local Rule 171, the United States shall

21 publish notice of the order of forfeiture. Notice of this Order and notice of the Attorney General’s (or a

22 designee’s) intent to dispose of the property in such manner as the Attorney General may direct shall be

23 posted for at least 30 consecutive days on the official internet government forfeiture site

24 www.forfeiture.gov. The United States may also, to the extent practicable, provide direct written notice

25 to any person known to have alleged an interest in the property that is the subject of the order of

26 forfeiture as a substitute for published notice as to those persons so notified.
27                  b.      This notice shall state that any person, other than the defendant, asserting a legal

28 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the


      PRELIMINARY ORDER OF FORFEITURE                     2
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           Case 1:15-cr-00264-DAD-BAM Document 58 Filed 04/26/17 Page 3 of 3

 1 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

 2 within thirty (30) days from receipt of direct written notice, whichever is earlier.

 3          5.      If a petition is timely filed, upon adjudication of all third-party interests, if any, this

 4 Court will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(a), in which all interests will

 5 be addressed.

 6 IT IS SO ORDERED.

 7
        Dated:     April 26, 2017
 8                                                       UNITED STATES DISTRICT JUDGE

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      PRELIMINARY ORDER OF FORFEITURE                       3
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